Case 2:05-cr-80722-SJM-RSW ECF No. 112, PageID.410 Filed 09/01/09 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNTIED STATES OF AMERICA,

         Plaintiff,
                                                      Case No. 05-80722-1
v.
                                                      Honorable Patrick J. Duggan
GREGORY McCLAIN,

         Defendant.
                                        /

                                OPINION AND ORDER

                        At a session of said Court, held in the U.S.
                          District Courthouse, Eastern District
                           of Michigan, on September 1, 2009.

         PRESENT:           THE HONORABLE PATRICK J. DUGGAN
                            U.S. DISTRICT COURT JUDGE

     On June 16, 2009, Defendant filed a motion requesting this Court to compel defense

counsel “to provide him with a full and complete copy of the defense files in this case,

including discovery, or to explain why he cannot do so.” (Def. Mot. to Compel at 1.) On

August 4, 2009, this Court denied Defendant’s motion based on defense counsel’s

expressed willingness to provide Defendant with the documents that remain in his

possession—namely copies of Defendant’s indictment, plea agreement, and presentence

report. Presently before the Court is Defendant’s Motion for Reconsideration, filed on

August 17, 2009.

     Eastern District of Michigan Local Rule 7.1(g)(3) provides that a motion for

reconsideration should be granted only if the movant demonstrates that the court and the
Case 2:05-cr-80722-SJM-RSW ECF No. 112, PageID.411 Filed 09/01/09 Page 2 of 3




parties have been misled by a palpable defect and that a different disposition of the case

must result from correction of that defect. “A palpable defect is one which is obvious,

clear, unmistakable, manifest, or plain.” Fleck v. Titan Tire Corp., 177 F. Supp. 2d 605,

624 (E.D. Mich. 2001). Furthermore, “the court will not grant motions for rehearing or

reconsideration that merely present the same issues ruled upon by the court, either

expressly or by reasonable implication.” E.D. Mich. LR 7.1(g)(3).

     Defendant seeks reconsideration on grounds that defense counsel misrepresented the

facts of this case in response to his motion. Defendant also complains that most of the

allegedly misrepresented facts in defense counsel’s response are irrelevant to the

disposition of the motion to compel. (Def.’s Mot. for Reconsideration at 1-2.) The Court

agrees with Defendant’s assessment of the relevancy of the allegedly misrepresented

facts. Because the allegedly misrepresented facts are irrelevant, however, they fail to

provide a basis for granting Defendant’s present motion.

     In the order denying Defendant’s motion to compel, this Court identified the most

salient facts in defense counsel’s response: (1) defense counsel no longer possesses

discovery materials because they were disposed of after Defendant’s sentencing; and (2)

defense counsel is willing to send copies of the indictment, plea agreement, and

presentence report to Defendant. (Docket No. 107 at 1-2.) In his motion for

reconsideration, Defendant acknowledges receipt of the named documents. Nonetheless,

Defendant continues to seek an order from this Court granting his motion to compel or,

alternatively, requiring defense counsel to provide a detailed explanation regarding the

disposal of the discovery materials. (Def.’s Mot. to Reconsider at 9.) This request

                                             2
Case 2:05-cr-80722-SJM-RSW ECF No. 112, PageID.412 Filed 09/01/09 Page 3 of 3




presents the same issue previously ruled on by the Court and Defendant has failed to

establish the existence of a palpable defect that misled the Court’s prior ruling.

     Accordingly,

     IT IS ORDERED that Defendant’s Motion for Reconsideration is DENIED.

                                                s/PATRICK J. DUGGAN
                                           UNITED STATES DISTRICT JUDGE

Copies to:
Gregory McClain #40609-039
FCI Fort Worth
P.O. Box 15330
Fort Worth, Texas 76119

Steven Fishman, Esq.
Ronald Waterstreet, AUSA




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